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             EXHIBIT A
         Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 2 of 41 Page ID #:10



                                                                  O.Wolters Kluwer

                           PROCESS SERVER DELIVERY DETAILS



Date:                                          Fri, Jul 7, 2023
Server Name:                                   Jimmy Lizama




 Entity Served               MERCEDES-BENZ USA, LLC

 Case Number                 23LBCV01232
 J urisdiction               CA



                                             Inserts
                Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 3 of 41 Page ID #:11

                                                                                                                                                       SUM-100
                                            SUMMONS                                                                          FOR OFFICE USE ONLY

                                     (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):                                                                                            Electronically FILED by
                                                                                                                 Superior Court of California,
  MERCEDES-BENZ USA,LLC,a Delaware Limited Liability Company,and                                                 County of Los Angeles
 DOES 1 through 10, inclusive                                                                                    7/03/2023 12:17 PM
                                                                                                                 David W. Slayton,
YOU ARE BEING SUED BY PLAINTIFF:                                                                                 Executive Officer/Clerk of Court,
                                                                                                                 By A. Miranda, Deputy Clerk
(LO ESTA DEMANDANDO EL DEMANDANTE):
 ROSE CADAWAN,an individual



  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be In proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.goviselthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  FAVISOI Lo han demandado. Si no responde dentro de 30 dies, ía corte puede decidir en su contra sin escuchar su version. Lea la informacion a
  continuaciOn.
     Tiene 30 DIAS DE CALENDARIO despuels de que to entreguen esta citacion y pope/es legates pars presenter una respuesta por escrito en este
  aorta y hacer que se entregue una copia al demandante. Una carta o una Hamada teletonica no to protegen. Su respuesta por escrito tiene que ester
  en format° legal correcto si desea que procesen su caso en la corte. Es posible que haya un fonnulario que usted pueda user pare su respuesta.
  Puede encontrar estos formularios de la corte y riles infonnacion en el Centro de Ayuda de las Cortes de California (Www.sucorte.ca.gov), en la
  biblioteca de !eyes de su condado o en la corte que le quede mas coma. Si no puede pager ía cuota de presentacion, pida al secretario de la corte
  qua le d6 un formulario de exencian de pago de cuotas. Si no presenta su respuesta a tiempo, puede pettier el caso por incumplimiento y Ia code le
  podra quiter su sue/do, dinero y bienes sin mas advertencia.
    Hay otros requisitos legates. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
  remisian a abogados. Si no puede pager a un abogado, as posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
  programa de servicios legates sin fines de Nara Puede encontrar estos grupos sin fines de lucre en el sitio web de California Legal Services,
 (www.lawhelpcalifomia.org), on el Centro de Ayuda de las Cortes de California,(.vww.sucorte.ca.gov) o poniendose en contacto con la corte o el
  colegio de abogados locales. AVISO:Parley, la corte fiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
  cualquier recuperaci6n de $10,0006 mes de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
  pager el gravamen de la code antes de que la code pueda desechar el caso.
 The name and address of the court is: County of Los Angeles Superior Court                               CASE NUMBER:
                                                                                                         (Women,de/ Caso):
(El nombre y direccion de la code es):
 Governor George Deukmejian Courthouse, 275 Magnolia, Long Beach, CA 90802                                 23L_B CV 01 232

 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcciOn y el numero de telefono del abogado del demandante, o del demandante que no Ilene abogado, es):
 Sepehr Daghighian, Esq., CALIFORNIA CONSUMER ATTORNEYS,P.C.
 10866 Wilshire Blvd, Suite 1200, Los Angeles, CA 90024— Tel:(310)872-2600
 DATE:                                                              Clerk, by David W. Slayton, Executive Officer/Clerk of Court, Deputy
(Fecha) 07103/2023                                                 (Secretario)                  A. Miranda                     (Adjunto)
(For proof ofservice ofthis summons, use Proof of Service of Summons(form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                NOTICE TO THE PERSON SERVED: You are served
                                1. Ei as an individual defendant.
                                2. ni as the person sued under the fictitious name of(specify):

                                                                            MERCEDES-BENZ USA, LLC, a Delaware Limited Liability Company
                                       3. Ix     on behalf of(specify):

                                            under       CCP 416.10 (corporation)                                   CCP 416.60(minor)
                                                    -
                                                    I 1 CCP 416.20 (defunct corporation)                           CCP 416.70(conservatee)
                                                    -
                                                    1 1 CCP 416.40 (association or partnership)                    CCP 416.90(authorized person)
                                                   X     other (specify): Limited Liability Company
                                       4.        by personal delivery on (date):
                                                                                                                                                           Page 1 of 1
  Form Adopted for Mandatory Use                                                                                                 Code of Civil Procedure §§ 412.20. 465
    Judicial Council of California
                                                                       SUMMONS
                                                                                                                                                   www.courtinfo.cagov
    SUM-100 Rev. July 1, 20091
       Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 4 of 41 Page ID #:12




     CALIFORNIA CONSUMER ATTORNEYS,P.C.
 1
     Michael H.Rosenstein(SBN 169091)
 2   mhr@calattorneys.com
     Sepehr Daghighian(SBN 239349)
 3   sd@calattorneys.com                                     Electronically FILED by
                                                             Superior Court of California,
     James P. Martinez(SBN 308806)                           County of Los Angeles
 4
     jpm@calattorneys.com                                    7/03/2023 12:17 PM
      10866 Wilshire Blvd, Suite 1200                        David W. Slayton,
 5                                                           Executive Officer/Clerk of Court,
     Los Angeles, CA 90024                                   By A. Miranda, Deputy Clerk
6    Telephone:(310)872-2600
     Facsimile:(310)730-7377
 7
 8   Attorneys for Plaintiff,
     ROSE CADAWAN
 9
                                  SUPERIOR COURT OF CALIFORNIA
10
                                     COUNTY OF LOS ANGELES
11
12   ROSE CADAWAN,an individual,                 Case No.: 231_8 CV 01 232
                                                 Unlimited Jurisdiction
13
                    Plaintiff,
14                                               COMPLAINT
            VS.
15
                                                 1. VIOLATION OF SONG-BEVERLY
16   MERCEDES-BENZ USA,LLC,a Delaware               ACT - BREACH OF EXPRESS
     Limited Liability Company, and DOES 1          WARRANTY
17   through 10, inclusive,                      2. VIOLATION OF SONG-BEVERLY
                                                    ACT - BREACH OF IMPLIED
18                                                  WARRANTY
19                  Defendants.                  3. VIOLATION OF THE SONG-
                                                    BEVERLY ACT SECTION 1793.2(b)
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                                              -1-
                                           COMPLAINT
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 1             Plaintiff, ROSE CADAWAN, an individual, alleges as follows against Defendants
2    MERCEDES-BENZ USA, LLC, a Delaware Limited Liability Company ("Mercedes-Benz USA,
3    LLC"), and DOES 1 through 10 inclusive, on information and belief, formed after a reasonable
4    inquiry under the circumstances:
5                                       DEMAND FOR JURY TRIAL
6              1.    Plaintiff, Rose Cadawan, hereby demands trial by jury in this action.
7                                       GENERAL ALLEGATIONS
8              2.    Plaintiff, Rose Cadawan, is an individual residing in the City of Lakewood, State of
9    California.
10             3.    Defendant Mercedes-Benz USA, LLC is and was a Delaware Limited Liability
11   Company operating and doing business in the State of California.
12             4.    These causes of action arise out of the warranty obligations of Mercedes-Benz USA, - - --
13   LLC in connection with a vehicle purchased by Plaintiff and for which Mercedes-Benz USA,LLC
14   issued a written warranty.
15             5.    Plaintiffdoes not know the true names and capacities, whether corporate, partnership,
16   associate, individual or otherwise of Defendant issued herein as Does 1 through 10, inclusive, under
17   the provisions of section 474 ofthe California Code of Civil Procedure. Defendant Does 1 through
18   10, inclusive, are in some manner responsible for the acts, occurrences and transactions set forth
19   herein, and are legally liable to Plaintiff. Plaintiff will seek leave to amend this Complaint to set
20   forth the true names and capacities of the fictitiously named Defendant, together with appropriate
21   charging allegations, when ascertained.
22             6.    All acts of corporate employees as alleged were authorized or ratified by an officer,
23   director, or managing agent ofthe corporate employer.
24             7.    Each Defendant, whether actually or fictitiously named herein, was the principal,
25   agent(actual or ostensible), or employee of each other Defendant, and in acting as such principal or
26   within the course and scope of such employment or agency,took some part in the acts and omissions
27   hereinafter set forth by reason of which each Defendant is liable to Plaintiff for the relief prayed for
28   herein.

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                                                 COMPLAINT
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 1          8.      On April 23,2021,Plaintiffleased a new 2021 Mercedes Benz GLE 350, having VIN
 2   No.4JGFB4JB9MA406236("the Subject Vehicle"). Express warranties accompanied the sale ofthe
 3   Subject Vehicle to Plaintiff by which Mercedes-Benz USA,LLC undertook to preserve or maintain
4    the utility or performance of Plaintiffs vehicle or to provide compensation if there was a failure in
 5   such utility or performance.
6           9.      The Subject Vehicle was delivered to Plaintiff with serious defects and
 7   nonconformities to warranty and developed other serious defects and nonconformities to warranty
 8   including, but not limited to, the engine defects, transmission system defects, electronics defects,
9    infotainment system defects, recalls, and other serious nonconformities to warranty.
10           10.    Plaintiff hereby revokes acceptance of the sales contract.
11           11.    Pursuant to the Song-Beverly Consumer Warranty Act (herein after the "Act") Civil
12   Code sections 1790 et seg. the Subject Vehicle constitutes "consumer goods" used primarily for
13   family or household purposes, and Plaintiff has used the vehicle primarily for those purposes.
14           12.    Plaintiff is a "buyer" of consumer goods under the Act.
15           13.    Defendant Mercedes-Benz USA,LLC is a "manufacturer" and/or "distributor" under
16   the Act.
17           14.    To the extent that one or more class action lawsuits have been filed or are filed with
18   respect to the nonconformities affecting Plaintiffs vehicle, without conceding the necessity of
19   supplying such notice, Plaintiff hereby provides notice to Defendant and/or Defendant's agents of
20   Plaintiffs intent to opt-out and be excluded from the settlement class of said class action lawsuit(s).
21           15.    Plaintiff hereby demands trial by jury in this action.
22                                      FIRST CAUSE OF ACTION
23                  Violation of the Song-Beverly Act — Breach of Express Warranty
24           16.    Plaintiff incorporates herein by reference each and every allegation contained in the
25   preceding and succeeding paragraphs as though herein fully restated and re-alleged.
26           17.    Express warranties accompanied the sale of the vehicle to Plaintiff by which
27   Mercedes-Benz USA,LLC undertook to preserve or maintain the utility or performance ofPlaintiffs
28   vehicle or to provide compensation if there was a failure in such utility or performance.


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                                                 COMPLAINT
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 1           18.    The Subject Vehicle was delivered to Plaintiff with serious defects and
2    nonconformities to warranty and developed other serious defects and nonconformities to warranty
3    including, but not limited to, engine defects, transmission system defects, electronics defects,
4    infotainment system defects, recalls, and other serious nonconformities to warranty.
5            19.    Pursuant to the Song-Beverly Consumer Warranty Act (herein after the "Act") Civil
6    Code sections 1790 et seq. the vehicle constitutes "consumer goods" used primarily for family or
7    household purposes, and Plaintiff has used the Subject Vehicle primarily for those purposes.
8           20.     Plaintiff is the "buyer" of consumer goods under the Act.
9           21.     Defendant Mercedes-Benz USA,LLC is a "manufacturer" and/or "distributor" under
10   the Act.
11          22.     The foregoing defects and nonconformities to warranty manifested themselves in the
12   Subject Vehicle within the applicable express warranty period. The nonconformities substantially
13   impair the use, value and/or safety of the vehicle.
14          23.     Plaintiff delivered the vehicle to an authorized Mercedes-Benz USA, LLC repair
15   facility for repair of the nonconformities.
16          24.     Defendant was unable to conform Plaintiff's vehicle to the applicable express after a
17   reasonable number of repair attempts.
18          25.     Notwithstanding Plaintiff's entitlement, Defendant Mercedes-Benz USA, LLC has
19   failed to either promptly replace the new motor vehicle or to promptly make restitution in accordance
20   with the Song-Beverly Act.
21          26.     By failure of Defendant to remedy the defects as alleged above, or to issue a refund
22   or replacement vehicle, Defendant is in breach of its obligations under the Song-Beverly Act.
23          27.     Under the Act, Plaintiff is entitled to reimbursement of the price paid for the vehicle
24   less that amount directly attributable to use by the Plaintiff prior to the first presentation of the
25   nonconformities.
26          28.     Plaintiff is entitled to all incidental, consequential, and general damages resulting
27   from Defendant's failure to comply with its obligations under the Song-Beverly Act.
28          29.     Plaintiff is entitled under the Song-Beverly Act to recover as part of the judgment a

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                                                   COMPLAINT
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 1   sum equal to the aggregate amount of costs and expenses, including attorney's fees, reasonably
 2   incurred in connection with the commencement and prosecution of this action.
 3          30.     Because Defendant willfully violated the Song-Beverly Act, Plaintiff is entitled in
4    addition to the amounts recovered, a civil penalty of up to two times the amount of actual damages
 5   for Mercedes-Benz USA,LLC's willful failure to comply with its responsibilities under the Act.
6                                     SECOND CAUSE OF ACTION
 7                  Violation of the Song-Beverly Act — Breach of Implied Warranty
 8          31.     Plaintiff incorporates herein by reference each and every allegation contained in the
 9   preceding and succeeding paragraphs as though herein fully restated and re-alleged.
10          32.     Mercedes-Benz USA,LLC and its authorized dealership at which Plaintiff purchased
11   the Subject Vehicle had reason to know the purpose of the Subject Vehicle at the time of sale of the
12   Subject Vehicle. The sale of the Subject Vehicle was accompanied by implied warranties provided
13   for under the law.
14          33.     Among other warranties, the sale of the Subject Vehicle was accompanied by an
15   implied warranty that the Subject Vehicle was merchantable pursuant to Civil Code section 1792.
16          34.     The Subject Vehicle was not fit for the ordinary purpose for which such goods are
17   used because it was equipped with one or more defective vehicle systems/components.
18          35.     The Subject Vehicle did not measure up to the promises or facts stated on the
19   container or label because it was equipped with one or more defective vehicle systems/components.
20          36.     The Subject Vehicle was not of the same quality as those generally acceptable in the
21   trade because it was sold with one or more defective vehicle systems/components which manifest as
22   engine defects, transmission system defects, electronics defects, infotainment system defects,
23   recalls, and other serious nonconformities to warranty.
24          37.     Upon information and belief, the defective vehicle systems and components were
25   present at the time of sale of the Subject Vehicle; thus, extending the duration of any implied
26   warranty under Mexia v. Rinker Boat Co., Inc.(2009) 174 Cal.App.4th 1297, 1304-1305 and other
27   applicable laws.
28          38.     Plaintiff is entitled to justifiably revoke acceptance ofthe Subject Vehicle under Civil

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                                                 COMPLAINT
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 1   Code, section 1794, et seq;
2            39.     Plaintiff hereby revokes acceptance of the Subject Vehicle.
3            40.     Plaintiff is entitled to replacement or reimbursement pursuant to Civil Code, section
4    1794, et seq.
5            41.     Plaintiff is entitled to rescission of the contract pursuant to Civil Code, section 1794,
6    et seq. and Commercial Code, section 2711.
7            42.     Plaintiff is entitled to recover any incidental, consequential, and/or "cover" damages
8    under Commercial Code, sections 2711, 2712, and Civil Code, section 1794, et seq.
9                                       THIRD CAUSE OF ACTION
10                          Violation of the Song-Beverly Act Section 1793.2(b)
11           43.     Plaintiff incorporates herein by reference each and every allegation contained in the
12   preceding and succeeding paragraphs as though herein fully restated and re-alleged.
13           44.     Pursuant to Civil Code, section 1793.2, subdivision (a) a manufacturer that sells
14   consumer goods in California, for which it has made an express warranty, shall maintain service and
15   repair facilities or designate and authorize independent service and repair facilities to carry out the
16   terms of those warranties.
17           45.     Pursuant to Civil Code, section 1793.2, subdivision (b), when service and repair of
18   goods is necessary because they do not conform with the applicable express warranties, service and
19   repair shall be commenced within a reasonable time by the manufacturer or its representative.
20           46.     Civil Code, section 1793.2, subdivision(b)further states that goods shall be serviced
21   or repaired so as to conform to the applicable warranties within 30 days and/or within a reasonable
22   time.
23           47.     The sale ofthe Subject Vehicle was accompanied by express warranties, including a
24   warranty guaranteeing that the Subject Vehicle was safe to drive and not equipped with defective
25   parts, including the electrical system.
26           48.     Plaintiff delivered the Subject Vehicle to Mercedes-Benz USA, LLC's authorized
27   service representatives on multiple occasions. The Subject Vehicle was delivered for repairs of
28   defects, which amount to a nonconformities to the express warranties that accompanied the sale of


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                                                   COMPLAINT
      Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 10 of 41 Page ID #:18




 1   the Subject Vehicle.
2           49.      Defendant's authorized facilities did not conform the Subject Vehicle to warranty
3    within 30-days and/or commence repairs within a reasonable time and Mercedes-Benz USA,LLC
4    has failed to tender the Subject Vehicle back to Plaintiff in conformance with its warranties within
5    the timeframes set forth in Civil Code section 1793.2(b).
6           50.      Plaintiff is entitled to justifiably revoke acceptance ofthe Subject Vehicle under Civil
7    Code, section 1794, et seq;
8           51.      Plaintiff hereby revokes acceptance of the Subject Vehicle.
9           52.      Plaintiff is entitled to replacement or reimbursement pursuant to Civil Code, section
10   1794, et seq.
11          53.      Plaintiff is entitled to rescission of the contract pursuant to Civil Code section 1794,
12   et seq. and Commercial Code, section 2711.
13          54.      Plaintiffis entitled to recover any "cover" damages under Commercial Code sections
14   2711, 2712, and Civil Code, section 1794, et seq.
15          55.      Plaintiff is entitled to recover all incidental and consequential damages pursuant to
16   1794 et seq and Commercial Code sections, 2711, 2712, and 2713 et seq.
17          56.      Plaintiff is entitled in addition to the amounts recovered, a civil penalty of up to two
18   times the amount ofactual damages in that Mercedes-Benz USA,LLC has willfully failed to comply
19   with its responsibilities under the Act.
20                                         PRAYER FOR RELIEF
21          WHEREFORE,Plaintiff prays for judgment against Defendants, as follows:
22           1.      For general, special and actual damages according to proof at trial;
23          2.       For rescission ofthe purchase contract and restitution of all monies expended;
24          3.       For diminution in value;
25          4.       For incidental and consequential damages according to proof at trial;
26          5.       For civil penalty in the amount of two times Plaintiff's actual damages;
27          6.       For prejudgment interest at the legal rate;
28          7.       For reasonable attorney's fees and costs and expenses of suit; and


                                                        -7-
                                                  COMPLAINT
     Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 11 of 41 Page ID #:19




1         8.     For such other and further relief as the Court deems just and proper under the

2                circumstances.

3
     Dated: July 3, 2023                CALIFO        A CONSUMER ATTORNEYS,P.C.
4

5
                                        Mic 1        osenstein, Esq.
6                                       Sepei Daghighian, Esq.
                                        James P. Martinez, Esq.
7
                                        Attorneys for Plaintiff,
8                                       ROSE CADA WAN

9
          Plaintiff, ROSE CADAWAN,hereby demands trial by jury in this action.
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                                                -8-
                                           COMPLAINT
             Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 12 of 41 Page ID #:20 CM-010
ATTORNEY OR PARTY VV1THOUT ATTORNEY(Name, State Bar number, and address):
                                                                                                                         FOR COURT USE ONLY
  Michael H. Rosenstein (SBN 169091)1 Sepehr Daghighian (SBN 239349)
  CALIFORNIA CONSUMER ATTORNEYS, P.C.
  10866 Wilshire Blvd, Suite 1200, Los Angeles, CA 90024
       TELEPHONE NO.:(310)872-2600                ,FAX NO.(Optronaty (310)730-7377
      E-MAIL ADDRESS: mhr@calattorneys.com I sd@calattomeys.com          ,                                    Electronically FILED by
  ATTORNEY FOR (Name): Plaintiff: Rose Cadawan
                                                                                                              Superior Court of California,
                                                                                                              County of Los Angeles
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles                                                           7/03/2023 12:17 PM
 STREET ADDRESS: 275 Magnolia                                                                                 David W. Slayton,
 MAILING ADDRESS: 275 Magnolia                                                                                Executive Officer/Clerk of Court,
CITY AND ZIP CODE: Long Beach, CA 90802                                                                       By A. Miranda, Deputy Clerk
    BRANCH NAME: Governor George Deukmejian Courthouse

CASE NAME:
 Rose Cadawan v. Mercedes-Benz USA, LLC
   CIVIL CASE COVER SHEET                                                         CASE NUMBER:
                                             Complex Case Designation
 X Unlimited         ni Limited                  Counter        -1   1 Joinder       23L.B CV 01 232
   (Amount             (Amount
                                         Filed with first appearance by defendant JUDGE:
    demanded            demanded is
                                            (Cal. Rules of Court rule 3.402)       DEPT.:
    exceeds $25,000)    $25,000 or less)
                          Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
    Auto Tort                                             Contract                                  Provisionally Complex Civil Litigation
   -
   1    1 Auto(22)                                       -
                                                         1 7 B• reach of contract/warranty(06)     (Cal. Rules of Court, rules 3.400-3.403)
   1---1 Uninsured motorist (46)                         F7 Rule 3.740 collections(09)             I 7 A• ntitrust/Trade regulation (03)
                                                                                                   -
    Other PI/PD/WD (Personal Injury/Property                 O• ther collections (09)              F7 C• onstruction defect (10)
    Damage/Wrongful Death) Tort                                                                    r—i M• ass tort (40)
                                                         1 1 Insurance coverage (18)
                                                         -
            A• sbestos (04)                               r 1 O• ther contract(37)                 -
                                                                                                   1 1 Securities litigation (28)
      X     Product liability(24)                                                                   1--1 E• nvironmental/Toxic tort (30)
                                                 Real Property
   -
   1 7 M• edical malpractice (45)                                                                      Insurance coverage claims arising from the
                                                                                                    EJ above
                                                 E 1 E• minent domain/Inverse                                listed provisionally complex case
  -
  1   1 Other PI/PD/WD(23)                             condemnation (14)
                                                                                                         types(41)
   Non-PUPD/WD (Other)Tort                             Wrongful eviction (33)-                      Enforcement of Judgment
  I 7 Business tort/unfair business practice(07) -
  -                                              r   1 Other real property(26)                      F-1 E• nforcement ofjudgment(20)
  F7 Civil rights(08)                            Unlawful Detainer
                                                                                                    Miscellaneous Civil Complaint
   ni   Defamation (13)                                C• ommercial(31)
                                                                                                    r—i R• ICO(27)
   -
   1 7 Fraud(16)                                                 Residential (32)
                                                                                                    -
                                                                                                    1  1 Other complaint(not specified above)(42)
  -
  1 1 Intellectual property(19)                           E    1 Drugs(38)                          Miscellaneous Civil Petition
  -
  1 1 Professional negligence(25)                         Judicial Review
                                                          F7 Asset forfeiture(05)                   F7 Partnership and corporate governance (21)
  -
  1  1 Other non-PI/PD/WD tort(35)
  Employment                                             r7 Petition re: arbitration award (11)     F-1 Other petition (not specified above)(43)
   -
   I 7 Wrongful termination (36)                         -
                                                         1 1 Writ of mandate (02)
       O• ther employment(15)                            -
                                                         1 1 Other judicial review (39)
2. This case           is      X Is not     complex under rule 3.400 of the California Rules of Court If the case is complex, mark the
    factors requiring exceptional judicial management:
   a.         Large number of separately represented parties       d. [---1 Large number of witnesses
   b. -1    1 Extensive motion practice raising difficult or novel e,        Coordination with related actions pending in one or more
              issues that will be time-consuming to resolve                 courts in other counties, states, or countries, or in a federal
   c.         Substantial amount of documentary evidence                    court
                                                                   f. I—I Substantial postjudgment judicial supervision
3. Remedies sought(check all that apply): a. 1---1 monetary b.            nonmonetary; declaratory or injunctive relief c. FT punitive
4. Number of causes of action (specify): 3
5. This case r--   1 is        X is not     a class action suit.
6. If there are any known related cases, file and serve a notice of related case.(You may use for rm           .)
Date: July 03, 2023
                 Sepehr Daghighian, Esq.
                           (TYPE OR PRINT NAME)                                                   (SIGNATUR          T                EY FOR PARTY)
                                                                      NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (excep't small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                           Page 1012
Form Adopted for Mandatory'Use                                                                                Cal. Rules of Court, rulos 2,30,3.220, 3.400-3,403, 3.740,
  Judidal Council of California                               CIVIL CASE COVER SHEET                                  Cal. Standards of Judidal Administration. std. 3.10
CM-010[Rev.September 1, 2021]                                                                                                                         www muffs i gov
                        Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 13 of 41 Page ID #:21
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                      Medical Malpractice-                                                            Other       Coverage                                                        Ofoiljhpiald,,taxe#
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       Employment                                                                           „               RPY.1.0...,,,                    . .                                              eiii'm
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                   Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 14 of 41 Page ID #:22


      SHORT TITLE                                                                                                              CASE NUMBER
                              Rose Cadawan v. Mercedes-Benz USA,LLC
                                                                                                                               23L_B CV al 232

                           CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                    (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

           This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

    Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type
    in Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
    Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
    Step 3: In Column C, circle the number which explains the reason for the court filing location you have
    chosen.



                                            Applicable Reasons for Choosing Courthouse Location (Column C)


      1.           Class Actions must be filed in the Stanley Mask Courthouse, Central District.   7.   Location where petitioner lives.

      2.           Permissive filing in Central District.                                          8.   Location wherein defendant/respondent functions wholly.

      3.           Location where cause of action arose.                                           9.   Location where one or more of the parties reside.

      4.           Mandatory personal injury filing in North District.                             10. Location of Labor Commissioner Office.

      5.           Location where performance required, or defendant resides.                      11. Mandatory filing location (Hub Cases — unlawful detainer, limited
                                                                                                        non-collection, limited collection, or personal injury).
      6.           Location of property or permanently garaged vehicle.




                                      A                                                          B                                                     C
                           Civil Case Cover Sheet                                          Type of Action                                      Applicable Reasons
                                  Case Type                                               (check only one)                                     (See Step 3 above)
                                                                                                                                                                     ,
                                             Personal Injury Cases Assigned to the Personal Injury Hub Courts
                                      Auto (22)               0 2201 Motor Vehicle — Personal Injury/Property                                           1,4,11
                                                              Damage/Wrongful Death

                           Uninsured Motorist(46) 04601 Uninsured Motorist —Personal Injury/Property                                                    1,4,11
                                                  Damage/Wrongful Death

                            Other Personal Injury/            0 2301 Premise Liability (e.g., dangerous conditions of                                   1,4,11
       Auto Tort




                             Property Damage/                 property, slip/trip and fall, dog attack, etc.)
                             Wrongful Death (23)
                                                              0 2302 Intentional Bodily Injury/Property Damage/Wrongful                                 1,4,11
                                                              Death (e.g., assault, battery, vandalism, etc.)

                                                              0 2303 Intentional Infliction of Emotional Distress                                       1,4,11

                                                              0 2304 Other Personal Injury/Property Damage/Wrongful                                     1,4,11
                                                              Death

                                                              0 2307 Construction Accidents                                                             1,4, 11


LASC CIV 109 Rev.05/22                                      CIVIL CASE COVER SHEET ADDENDUM                                                      LASC Local Rule 2.3
For Mandatory Use
                                                               AND STATEMENT OF LOCATION
                             Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 15 of 41 Page ID #:23


      SHORT TITLE                                                                                                            CASE NUMBER
                                               Rose Cadawan v. Mercedes-Benz USA,LLC


                                                           A                                           B                                           C
                                               Civil Case Cover Sheet                            Type of Action                            Applicable Reasons
                                                     - Case
                                                       _    Type                                (check only one)                           (See Step 3 above)
                                                                  :

                                                        Personal Injury Cases Assigned to the Independent Calendar Courts
                                                Product Liability (24)     0 2401 Product Liability(not asbestos or toxic/                       1, 3,5
                                                                           environmental)
        Other Personal Injury/Property
         Damage/Wrongful Death Tort




                                                                           0 2402 Product Liability-Song-Beverly Consumer Warranty               1, 3,5
                                                                           Act(CA Civil Code §§1790-1795.8)(Lemon Law)

                                              Medical Malpractice(45)      0 4501 Medical Malpractice-Physicians & Surgeons                      1, 3, 5

                                                                           0 4502 Other Professional Health Case Malpractice                     1, 3, 5

                                               Other Personal Injury /     0 2305 Elder/Dependent Adult Abuse/Claims Against Skilled             1, 3, 5
                                                Property Damage /          Nursing Facility
                                                Wrongful Death (23)
                                                                           0 2306 Intentional Conduct-Sexual Abuse Case (in any                  1, 3,5
                                                                           form)

                                                                           0 2308 Landlord -Tenant Habitability (e.g., bed bugs, mold,           1, 3,5
                                                                           etc.)

                                                              Other Civil Cases Assigned to Independent Calendar Courts

                                                  Business Tort(07)                                                                              1, 2, 3
        Non-Personal Injury/Property Damage




                                                                           00701 Other Commercial/Business Tort(not fraud or
                                                                           breach of contract)
               /Wrongful Death Tort




                                                   Civil Rights(08)        0 0801 Civil Rights/Discrimination                                    1, 2, 3

                                                  Defamation (13)          0 1301 Defamation (slander/libel)                                     1, 2, 3

                                                     Fraud (16)            0 1601 Fraud (no contract)                                            1, 2, 3

                                               Professional Negligence     0 2501 Legal Malpractice                                              1, 2, 3
                                                        (25)
                                                                           0 2502 Other Professional Malpractice(not medical or legal)           1, 2, 3

                                                     Other(35)             0 3501 Other Non-Personal Injury/Property Damage Tort                 1, 2, 3
        Employment




                                              Wrongful Termination (36)    0 3601 Wrongful Termination                                           1, 2, 3

                                               Other Employment(15)        0 1501 Other Employment Complaint Case                                1, 2, 3

                                                                           0 1502 Labor Commissioner Appeals                                       10

                                                Breach of Contract/        0 0601 Breach of Rental/Lease Contract(not unlawful                    2, 5
                                                  Warranty(06)             detainer or wrongful eviction)
        Contract




                                                 (not insurance)
                                                                           00602 Contract/Warranty Breach -Seller Plaintiff(no                    2,5
                                                                           fraud/negligence)

                                                                           0 0603 Negligent Breach of Contract/Warranty(no fraud)                1, 2, 5



LASC CIV 109 Rev. 05/22                                                  CIVIL CASE COVER SHEET ADDENDUM                                    LASC Local Rule 2.3
For Mandatory Use
                                                                            AND STATEMENT OF LOCATION
                            Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 16 of 41 Page ID #:24


      SHORT TITLE                                                                                               CASE NUMBER
                                 Rose Cadawan v. Mercedes-Benz USA,LLC


                                           A                                             B                                            C
                                Civil Case Cover Sheet                             Type of Action                             Applicable Reasons
                                       Casp.Tyoe ,_                               (check'only one)                            (See Step 3 above)

                                  Breach of Contract/       0 0604 Other Breach of Contract/Warranty(no fraud/                      1, 2, 5
                                    Warranty (06)           negligence)
                                   (not insurance)          0 0605 Breach of Rental/Lease Contract(COVID-19 Rental                    2, 5
                                                            Debt)
                                    Collections (09)        0 0901 Collections Case -Seller Plaintiff                               5, 6, 11

                                                            0 0902 Other Promissory Note/Collections Case                            5, 11
       Contract




                                                            0 0903 Collections Case- Purchased Debt(charged off                     5, 6, 11
                                                            consumer debt purchased on or after January 1, 2014)
                                                            0 0904 Collections Case - COVID-19 Rental Debt                           5, 11

                                Insurance Coverage(18)      0 1801 Insurance Coverage (not complex)                                1, 2, 5,8

                                  Other Contract(37)        0 3701 Contractual Fraud                                               1, 2, 3,5

                                                            0 3702 Tortious Interference                                           1, 2, 3, 5

                                                            0 3703 Other Contract Dispute(not breach/insurance/fraud/             1, 2, 3, 8,9
                                                            negligence)
                               Eminent Domain/ Inverse      D 1401 Eminent Domain/Condemnation                                        2,6
                                 Condemnation (14)
                                                                                            Number of Parcels
        Real Property




                                 Wrongful Eviction (33)     0 3301 Wrongful Eviction Case                                             2,6

                                Other Real Property(26)     0 2601 Mortgage Foreclosure                                               2,6

                                                            0 2602 Quiet Title                                                        2,6

                                                            0 2603 Other Real Property(not eminent domain,                            2,6
                                                            landlord/tenant,foreclosure)
                                  Unlawful Detainer-        0 3101 Unlawful Detainer-Commercial(not drugs or                         6,11
                                   Commercial (31)          wrongful eviction)
        Unlawful Detainer




                                  Unlawful Detainer-        0 3201 Unlawful Detainer - Residential(not drugs or                      6, 11
                                    Residential (32)        wrongful eviction)

                                Unlawful Detainer- Post     0 3401 Unlawful Detainer-Post Foreclosure                               2, 6, 11
                                    Foreclosure (34)

                                  U nlawful Detainer-       0 3801 Unlawful Detainer- Drugs                                         2, 6, 11
                                       Drugs (38)

                                 Asset Forfeiture(05)       0 0501 Asset Forfeiture Case                                            2, 3,6

                                 Petition re Arbitration    0 1101 Petition to Compel/Confirm/Vacate Arbitration                      2,5
        Judicial
        Review




                                          (11)
                                 Writ of Mandate (02)       0 0201 Writ- Administrative Mandamus                                      2,8

                                                            0 0202 Writ- Mandamus on Limited Court Case Matter                         2

                                                            0 0203 Writ - Other Limited Court Case Review                              2

LASC CIV 109 Rev. 05/22                                    CIVIL CASE COVER SHEET ADDENDUM                                     LASC Local Rule 2.3
For Mandatory Use
                                                              AND STATEMENT OF LOCATION
                                           Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 17 of 41 Page ID #:25

      SHORT TITLE                                                                                                                CASE NUMBER
                                                 Rose Cadawan v. Mercedes-Benz USA,LLC


                                                          A                                              B                                             C
                                               Civil Case Cover Sheet                              Type of Action                              Applicable Reasons
                                                      Case Type                                   (check only one)                             (See Step 3 above)
                                                           ..
                                              Other Judicial Review (39)     0 3901 Other Writ/Judicial Review                                        2,8
        Judicial
        Review




                                                                             0 3902 Administrative Hearing                                            2,8

                                                                             El 3903 Parking Appeal                                                   2,8

                                                   Antitrust/Trade           0 0301 Antitrust/Trade Regulation                                       1, 2,8
                                                   Regulation (03)
                                                    Asbestos(04)             0 0401 Asbestos Property Damage                                          1, 11
        Provisionally Complex Litigation




                                                                             0 0402 Asbestos Personal Injury/Wrongful Death                           1, 11

                                               Construction Defect(10)       0 1001 Construction Defect                                              1, 2, 3

                                                Claims Involving Mass        0 4001 Claims Involving Mass Tort                                       1, 2,8
                                                      Tort(40)

                                               Securities Litigation (28)    0 2801 Securities Litigation Case                                       1, 2,8

                                                      Toxic Tort             0 3001 Toxic Tort/Environmental                                        1, 2, 3,8
                                                 Environmental(30)
                                                 Insurance Coverage          04101 Insurance Coverage/Subrogation (complex case only)               1, 2, 5,8
                                                Claims from Complex
                                                      Case (41)
                                              Enforcement of Judgment        0 2001 Sister State Judgment                                            2, 5, 11
        Enforcement of Judgment




                                                       (20)
                                                                             0 2002 Abstract of Judgment                                              2,6

                                                                             0 2003 Confession of Judgment(non-domestic relations)                    2,9

                                                                             0 2004 Administrative Agency Award (not unpaid taxes)                    2,8

                                                                             0 2005 Petition/Certificate for Entry of Judgment Unpaid Tax             2,8

                                                                             0 2006 Other Enforcement of Judgment Case                               2, 8,9

                                                       RICO (27)             0 2701 Racketeering(RICO)Case                                           1, 2,8
        Miscellaneous Civil




                                                  Other Complaints           04201 Declaratory Relief Only                                           1, 2,8
            Complaints




                                              (not specified above)(42)
                                                                             04202 Injunctive Relief Only(not domestic/harassment)                    2,8

                                                                             0 4203 Other Commercial Complaint Case (non-tort/non-                   1, 2,8
                                                                             complex)
                                                                             0 4304 Other Civil Complaint (non-tort/non-complex)                     1, 2,8

                                               Partnership Corporation       0 2101 Partnership and Corporation Governance Case                       2,8
        Miscellaneous
        Civil Petitions




                                                   Governance (21)

                                                    Other Petitions          0 4301 Civil Harassment with Damages                                    2, 3,9
                                              (not specified above)(43)
                                                                             0 4302 Workplace Harassment with Damages                                2, 3,9


LASC CIV 109 Rev. 05/22                                                     CIVIL CASE COVER SHEET ADDENDUM                                     LASC Local Rule 2.3
For Mandatory Use
                                                                               AND STATEMENT OF LOCATION
                  Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 18 of 41 Page ID #:26


      SHORT TITLE                                                                                                 CASE NUMBER
                                  Rose Cadawan v. Mercedes-Benz USA,LLC


                                            A                                             B                                             C
                                 Civil Case Cover Sheet                             Type of Action                              Applicable Reasons
                                        Case Type                                  (check only one)                             (See Step 3 above)
                                      Other Petitions
                                                              0 4303 Elder/Dependent Adult Abuse Case with Damages                    2, 3,9
        Miscellaneous Civil




                                (not specified above)(43)
                                                              0 4304 Election Contest                                                   2
             Petitions




                                                              0 4305 Petition for Change of Name/Change of Gender                      2,7

                                                              0 4306 Petition for Relief from Late Claim Law                          2,3,8

                                                              0 4307 Other Civil Petition                                              2,9


     Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under
     Column C for the type of action that you have selected. Enter the address, which is the basis for the filing
     location including zip code. (No address required for class action cases).
       REASON:                                                                          ADDRESS:

      •1.0 2.0 3.0 4.05.0 6.0 7.0 8.0 9.0 10.0 ii.


       CITY:                                         STATE:            ZIP CODE:
                                                                                        2300 E Spring Street

                               Signal Hill                  CA             90755

     Step 5: Certification of Assignment: I certify that this case is properly filed in the Governor George Deukmejian
     District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC
     Local Rule 2.3(a)(1)(E)]



     Dated: July 03, 2023
                                                                                        (SIGNAT                LING PARTY)


     PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
     COMMENCE YOUR NEW COURT CASE:
              1. Original Complaint or Petition.

              2. If filing a Complaint, a completed Summons form for issuance by the Clerk.

              3. Civil Case Cover Sheet Judicial Council form CM-010.

              4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (05/22).

              5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.

             6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
                              petitioner is a minor under 18 years of age will be required by Court to issue a Summons.

              7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
                              addendum must be served along with the Summons and Complaint, or other initiating pleading in
                              the case.




LASC CIV 109 Rev. 05/22                                     CIVIL CASE COVER SHEET ADDENDUM                                      LASC Local Rule 2.3
For Mandatory Use
                                                               AND STATEMENT OF LOCATION
        Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 19 of 41 Page ID #:27



                         Superior Court of California, County of Los Angeles


                             ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                    INFORMATION PACKAGE
  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

  CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action with the
  cross-complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
   • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   • No Public Trial: ADR does not provide a public trial or decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.

                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.




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For Mandatory Use
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                          How to Arrange Mediation in Los Angeles County

Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

    a. The Civil Mediation Vendor Resource List
       If all parties in an active civil case agree to mediation, they may contact these organizations to
       request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
       cases).

         • ADR Services, Inc. Assistant Case Manager Janet Solis,janet@adrservices.com
           (213)683-1600
         • Mediation Center of Los Angeles Program Manager info@mediationLA.org
           (833)476-9145

         These organizations cannot accept every case and they may decline cases at their discretion.
         They may offer online mediation by video conference for cases they accept. Before contacting
         these organizations, review important information and FAQs at www.lacourt.org/ADR.Res.List

         NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
         or small claims cases.

    b. Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
       mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
       harassment, and limited civil (collections and non-collection) cases.
       https://dcba.lacounty.gov/countywidedra

         Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
         should carefully review the Notice and other information they may receive about(ODR)
         requirements for their case. https://mv.lacourt.org/odr/

    c.   Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
   arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
   decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a trial
   after the arbitrator's decision. For more information about arbitration, visit
   https://www.courts.ca.gov/programs-adr.htm

4. Mandatory Settlement Conferences(MSC): MSCs are ordered by the Court and are often held close
   to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
   settlement officer who does not make a decision but who instead assists the parties in evaluating
   the strengths and weaknesses of the case and in negotiating a settlement. For information about
   the Court's MSC programs for civil cases, visit https://www.lacourt.org/division/civil/C10047.aspx

Los Angeles Superior Court ADR website: https://www.lacourt.org/division/civil/C10109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



LASC CIV 271 Rev. 03/23                                                                            Page 2 of 2
For Mandatory Use
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                                                                                                Reserved for Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                     FILED
 Governor George Deukmejian Courthouse                                                          Siperior Cant of California
 275 Magnolia Ave, Long Beach, CA 90802                                                           county& Los Angeles
                                                                                                      07/03/2023
                   NOTICE OF CASE ASSIGNMENT                                             Mid W.SE10:11,ExediENt Meer/Metal Cduti
                                                                                                        A Mama         Dermy
                        UNLIMITED CIVIL CASE                                                                                       •

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 23LBCV01232              -

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM                   ASSIGNED JUDGE                     DEPT          ROOM
   V     Mark C. Kim                        S27




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   David W. Slayton, Executive Officer / Clerk of Court
    on 07/05/2023                                                        By A. Miranda                                        ,Deputy Clerk
              (Date)
LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
           Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 22 of 41 Page ID #:30


                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190(Rev 6/18)          NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
 Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 23 of 41 Page ID #:31

                                                                                            2019-GEN-014-00

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                                                                        Superior Court of Calibrate
                                                                           County of Los Angeles
                                                                              MAY 03 2019
                                                                    Sherri Carter,F,,x tive Officer/Clerk
                                                                     ny                          Deputy
                                                                              allude Mina


                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

                             FOR THE COUNTY OF LOS ANGELES


IN RE LOS ANGELES SUPERIOR COURT) FIRST AMENDED GENERAL ORDER
— MANDATORY ELECTRONIC FILING )
FOR CIVIL




       On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)

All electronically filed documentsin Limited and Non-Complex Unlimited cases are subject to the

following:

1) DEFINITIONS

   a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

       quickly locate and navigate to a designated point of interest within a document.

   b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling

       portal, that gives litigants access to the approved Electronic Filing Service Providers.

   c) "Electronic Envelope" A transaction through the electronic service provider for submission

       of documents to the Court for processing which may contain one or more PDF documents

       attached.

   d) "Electronic Filing" Electronic Filing (eFiling)is the electronic transmission to a Court of a

       document in electronic form.(California Rules of Court, rule 2.250(b)(7).)




                   FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                              2019-GEN-014-00




1      e) "Electronic Filing Service Provider" An Electronic Filing Service Provider(EFSP)is a
2         person or entity that receives an electronic filing from a party for retransmission to the Court.
3         In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4         agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5      f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6         Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7        (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8         2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
9         process attached to or logically associated with an electronic record and executed or adopted
10        by a person with the intent to sign the electronic record.
11     g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12        in a hypertext or hypermedia document to another in the same or different document.
13     h) "Portable Document Format" A digital document format that preserves all fonts,
14        formatting, colors and graphics of the original Source document,regardless of the application
15        platform used.

16   2) MANDATORY ELECTRONIC FILING
17     a) Trial Court Records
18        Pursuant to Government Code section 68150, trial court records may be created, maintained,
19        and preserved in electronic format. Any document that the Court receives electronically must
20        be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21        official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22     b) Represented Litigants
23        Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24        electronically file documents with the Court through an approved EFSP.
25     c) Public Notice
26        The Court has issued a Public Notice with effective dates the Court required parties to
27        electronically file documents through one or more approved EFSPs. Public Notices containing
28        effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.

                                                           2
                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                                 2019-GEN-014-00




          d) Documents in Related Cases
2            Documents in related cases must be electronically filed in the eFiling portal for that case type if
3            electronic filing has been implemented in that case type, regardless of whether the case has
4            been related to a Civil case.
5    ) EXEMPT LITIGANTS
6         a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7            from mandatory electronic filing requirements.
8         b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9            Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be permitted to file documents by conventional
11            means if the party shows undue hardship or significant prejudice.

12   4) EXEMPT FILINGS
13        a) The following documents shall not be filed electronically:
14            i)    Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                  Civil Procedure sections 170.6 or 170.3;
16            ii)   Bonds/Undertaking documents;
17            iii) Trial and Evidentiary Hearing Exhibits
18            iv) Any ex parte application that is filed concurrently with a new complaint including those
19                  that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20            v) Documents submitted conditionally under seal. The actual motion or application shall be
21                  electronically filed. A courtesy copy of the electronically filed motion or application to
22                  submit documents conditionally under seal must be provided with the documents
23                  submitted conditionally under seal.
24        b) Lodgments
25            Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26   paper form. The actual document entitled,"Notice of Lodgment," shall be filed electronically.
27

28   //

                                                          3
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                              2019-GEN-014-00




1    ) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
2      Electronic filing'service providers must obtain and manage registration information for persons
3      and entities electronically filing with the court.
4 6) TECHNICAL REQUIREMENTS

5      a) Electronic documents must be electronically filed in PDF,text searchable format when
6          technologically feasible without impairment of the document's image.
7      b) The table of contents for any filing must be boolcmarked.
8      c) Electronic documents, including but not limited to, declarations, proofs of service, and
9          exhibits; must be boolunarked within the document pursuant to California Rules of Court, rule
10         3.1110(0(4). Electronic bookmarks must include links to the first page of each boolcmarked
11         item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12         bookedmarked item and briefly describe the item.
13     d) Attachments to primary documents niust be boolunarked. Examples include, but are not
14         limited to, the following:
15         i)    Depositions;
16         ii)   Declarations;
17         iii) Exhibits (including exhibits to declarations);
18         iv) Transcripts (including excerpts within transcripts);
19         v) Points and Authorities;
20         vi)   Citations; and
21         vii) Supporting Briefs.
22     e) Use of hyperlinks within documents(including attachments and exhibits) is strongly
23         encouraged.
24     0 Accompanying Documents
25         Each document acompanying a single pleading must be electronically filed as a separate
26         digital PDF document.
27     g) Multiple Documents
28         Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                       4
                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
        Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 27 of 41 Page ID #:35

                                                                                                2019-GEN-014-00




1        h) Writs and Abstracts
2           Writs and Abstracts must be submitted as a separate electronic envelope.
3        i) Sealed Documents
4           If and when a judicial officer orders documents to be filed under seal, those documents must be
5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6           the documents as sealed at the time of electronic submission is the submitting party's
7           responsibility.
8        j) Redaction
9           Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10          redact confidential information(such as using initials for names of minors, using the last four
11          digits of a social security number, and using the year for date of birth) so that the information
12          shall not be publicly displayed.
13     7) ELECTRONIC FILING SCHEDULE

14       a) Filed Date
15          i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16              shall be deemed to have been effectively•filed on that court day if accepted for filing. Any
17              document received electronically on a non-court day, is deemed to have been effectively
18 •            filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19              Civ. Proc. § 1010.6(b)(3).)
20          ii) Notwithstanding any other provision of this order,if a digital document is not filed in due
21              course because of: (1) an interruption in service;(2)a transmission error that is not the
22              fault of the transmitter; or(3) a processing failure that occurs after receipt, the Court may
23              order, either on its own motion or by noticed motion submitted with a declaration for Court
24              consideration, that the document be deemed filed and/or that the document's filing date
25              conform to the attempted transmission date.

26     8) EX PARTE APPLICATIONS
27       a) Ex parte applications and all documents in support thereof must be electronically filed no later
28           than 10:00 a.m. the court day,before the ex parte hearing.

                                                          5
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                             2019-GEN-014-00




1      b) Kny written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2          day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3          application must be provided to the court the day of the ex parte hearing.
4    9) PRINTED COURTESY COPIES
5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6          be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7          the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8          by 10:00 a.m. the next business day.
9      b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10         electronic submission)is required for the following documents:
11         i)    Any printed document required pursuant to a Standing or General Order;
12         ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13               pages or more;
14        iii)   Pleadings and motions that include points and authorities;
15        iv)    Demurrers;
16         v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17        vi)    Motions for Summary Judgment/Adjudication; and
18        vii)   Motions to Compel Further Discovery.
19     c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20         additional documents. Courtroom specific courtesy copy guidelines can be found at
21         www.lacourt.org on the Civil webpage under "Courtroom Information."
22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23     a) Fees and costs associated with electronic filing must be waived for any litigant who has
24         received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25         1010.6(d)(2).)
26      b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27         section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(0, may be
28         electronically filed in any authorized action or proceeding..


                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                               2019-GEN-014-00




     1) SIGNATURES ON ELECTRONIC FILING
2       For purposes of this General Order, all electronic filings must be in compliance with California
3       Rules Of Court, rule 2.257. This General Order applies to documents filed within the Civil
4       Division of the Los Angeles County Superior Court.
5

6           This First Amended General Order supersedes any previous order related to electronic filing,
7    and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8    Supervising Judge and/or Presiding Judge.
                                                                                                 .e•

9

10   DATED: May 3,2019
                                                          KEVIN C.BRAZILE
11
                                                          Presiding Judge
12

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                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California   voluntary stipulations entered into by the parties. The parties
County of Los Angeles

                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
 LACBA                         because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.
                    _.
           cerauset Anwers
   II II   ;t:ii 37:afro.;
           ru Los
                                  The following organizations endorse the goal of
Consumer Attorneys
Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
   11          I               and with the court to fairly resolve issues in their cases.

                               •Los Angeles County Bar Association Litigation Section*
Southern California
Defense Counsel
                                        •Los Angeles County Bar Association
MYXIMIONABtrIALLAWAII5
                                             Labor and Employment Law Section*
           (OS MIGUIS


Association of
Business Trial Lawyers            *Consumer Attorneys Association of Los Angeles*


                                        *Southern California Defense Counsel*


                                       *Association of Business Trial Lawyers*

California Employment
Lawyers Association
                                   *California Employment Lawyers Association*


   LACIV 230(NEW)
   LASC Approved 4-11
   For Optional Use
          Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 31 of 41 Page ID #:39




NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's Fie Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                  court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                  and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229(Rev 02/15)
      LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                     Page 1 of 2
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SHORT TITLE:                                                                      CASE NUMBER:




               discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
               complaint;

         h. Computation of damages, including documents, not privileged or protected from disclosure, on
            which such computation is based;

         i.    Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourt.orq under "Civil' and then under "General Information").

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                         for the complaint, and                             for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.orq under "Civil',
               click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             References to "days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:

                 (TYPE OR PRINT NAME)                                        (ATTORNEY FOR PLAINTIFF)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
Date:

                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR


LACIV 229(Rev 02/15)
LASC Approved 04/11          STIPULATION — EARLY ORGANIZATIONAL MEETING                                 Page 2 of 2
     -                                                                                                   _ - _
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NAME AND ADDRESS OF ATTORNEY OR PARTY WID-IOUT ATTORNEY:                STATE BAR NUMBER            Reserved or Clerk's File Stamp




          TELEPHONE NO.:                                   FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                           CASE NUMBER:

                     STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

       1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
          the moving party first makes a written request for an Informal Discovery Conference pursuant
          to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.      File a Request for Informal Discovery Conference with the clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                      ii.     Include a brief summary of the dispute and specify the relief requested; and

                     iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036(new)
      LASC Approved 04/11                      STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                                    Page 1 of 3
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SHORT TRLE:                                                                   CASE NUMBER:




              iii.   Be filed within two (2) court days of receipt of the Request; and

              iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                     method of service that ensures that the opposing party receives the Answer no
                     later than the next court day following the filing.

     c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
        be accepted.

     d. If the Court has not granted or denied the Request for Informal Discovery Conference
        within ten (10) days following the filing of the Request, then it shall be deemed to have
        been denied. If the Court acts on the Request, the parties will be notified whether the
        Request for Informal Discovery Conference has been granted or denied and, if granted,
        the date and time of the Informal Discovery Conference, which must be within twenty (20)
        days of the filing of the Request for Informal Discovery Conference.

     e. If the conference is not held within twenty (20) days of the filing of the Request for
        Informal Discovery Conference, unless extended by agreement of the parties and the
        Court, then the Request for the Informal Discovery Conference shall be deemed to have
        been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

     It is the understanding and intent of the parties that this stipulation shall, for each discovery
     dispute to which it applies, constitute a writing memorializing a "specific later date to which
     the propounding [or demanding or requesting] party and the responding party have agreed in
     writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
     2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



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For Optional Use                                                                             Page 2 of 3
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SHORT TITLE:                                                     CASE NUMBER:




The following parties stipulate:

Date:
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
Date:
                (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:
                (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:
                (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR




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For Optional Use                                                                           Page 3 of 3
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NAME AND ADDRESS OF ATTORNEY OR PARTY WM-IOUT ATTORNEY:                STATE BAR NUMBER                        Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                                     CASE NUMBER:
                    INFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
       1. This document relates to:
                    Request for Informal Discovery Conference
             111    Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                         (insert date 10 calendar days following filing of
             the Request).
      3. Deadline for Coat to hold Informal Discovery Conference:                                                 (insert date 20 calendar
             days following filing of the Request).
      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094(new)
      LASC Approved 04/11
                                              INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved tor Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:

                                                                                          CASE NUMBER:
              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

       1. At least       days before the final status conference, each party will provide all other
          parties with a list containing a one paragraph explanation of each proposed motion in
          limine. Each one paragraph explanation must identify the substance of a single proposed
          motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



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       LASC Approved 04/11              STIPULATION AND ORDER — MOTIONS IN LIMINE
       For Optional Use                                                                                                   Page 1 of 2
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SHORT TRLE:                                                 CASE NUMBER:




The following parties stipulate:

Date:

              (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
Date:

              (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

              (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

              (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

              (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

              (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

              (TYPE OR PRINT NAME)                 (ATTORNEY FOR



THE COURT SO ORDERS.

  Date:
                                                             JUDICIAL OFFICER




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LASC Approved 04/11     STIPULATION AND ORDER — MOTIONS IN LIMINE               Page 2 of 2
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                                                                      FILED
                                                                  LOS ANGELES SUPERIOR COURT

3                                                                          MAY 1 12011
4                                                                     JOHN A
                                                                             CLARKE,ALERK
                                                                              areati
                                                                                   ,
                                                                    BY NA CY AVARRO,
5                                                                                   DEPUTY



                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                             FOR THE COUNTY OF LOS ANGELES
9
     General Order Re                          )    ORDER PURSUANT TO CCP 1054(a),
10
     Use of Voluntary Efficient Litigation     )    EXTENDING TIME TO RESPOND BY
11   Stipulations                              )    30 DAYS WHEN PARTIES AGREE
                                               )    TO EARLY ORGANIZATIONAL
12                                             )    MEETING STIPULATION
13

14
            Whereas the Los Angeles Superior Court and the Executive Committee of the
15
     Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
     drafting 'Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18   use in general jurisdicti6n civil litigation in Los Angeles County;
19          Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
     Angeles County Bar Association Labor and Employment Law. Section; the Consumer
21
     Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23   Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24   Employment Lawyers Association all "endorse the goal cif promoting efficiency in
25
     litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
     promote communications and procedures among counsel and with the court to fairly
27
     resolve issues in their cases;"
28

                                                 -1-

                                ORDER PURSUANT TO CC? 1054(a)
     Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 40 of 41 Page ID #:48




            Whereas the Early Organizational Meeting Stipulation is intended to encourage
 1

 2   cooperation among the parties at an early stage in litigation in order to achieve
 3   litigation efficiencies;
4
            Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
     will promote economic case resolution and judicial efficiency;
6

 7
            Whereas, in order to promote a meaningful discussion of pleading issues at the

 8   Early Organizational Meeting and potentially to reduce the need for motions to
 9   challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
     Organizational Meeting before the time to respond to a complaint or cross complaint
11
     has expired;
12

13          Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14   which an action is pending to extend for not more than 30 days the time to respond to
15
     a pleading "upon good cause shown";
16
            Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
     days the time to respond to a complaint or to a cross complaint in any action in which
18

19   the parties have entered into the Early Organizational Meeting Stipulation. This finding
20   of good cause is based on the anticipated judicial efficiency and benefits of economic
21
     case resolution that the Early Organizational Meeting Stipulation is intended to
22
     promote.
23

24
            IT IS HEREBY ORDERED that, in any case in which the parties have entered

25   into an Early Organizational Meeting Stipulation, the time for a defending party to
26   respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                -2-

                                ORDER PURSUANT TO CCP 1054(a)
       Case 2:23-cv-06424 Document 1-1 Filed 08/07/23 Page 41 of 41 Page ID #:49




       by Code *of Civil Procedure section 1054(a) without further need of a specific court

       order.



                                                                  A.
                                                Carolyn B. KuhljSupervising Judge ofthe
                                                Civil Departments; Los Angeles Superior Court




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[3,




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                                ORDER PURSUANT TO CC? 1054(a)
